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Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
Email Address


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 Individual appearing without attorney
 Attorney for Jeffrey I. Golden, Chapter 7 Trustee

                                       UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION


In re:                                                                       CASE NO.: 8:21-bk-11710-SC
                                                                             CHAPTER: 7
JAMIE LYNN GALLIAN,

                                                              Debtor(s)

                                                                             NOTICE OF LODGMENT OF ORDER IN
                                                                             BANKRUPTCY CASE RE: (title of motion1):




PLEASE TAKE NOTE that the order titled ORDER DENYING APPLICATION OF THE CHAPTER 7 TRUSTEE TO
EMPLOY REAL ESTATE BROKER COLDWELL BANKER REALTY AND AGENTS WILLIAM FRIEDMAN AND GREG
BINGHAM PURSUANT TO 11 U.S.C. §§ 327 AND 328 WITHOUT PREJUDICE was lodged on September 20, 2022
and is attached. This order relates to the motion which is docket number 162.




1
    Please abbreviate if title cannot fit into text field
         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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 6 Attorneys for Jeffrey I. Golden,
   Chapter 7 Trustee
 7

 8                               UNITED STATES BANKRUPTCY COURT
 9                                CENTRAL DISTRICT OF CALIFORNIA
10                                        SANTA ANA DIVISION
11

12 In re                                                  Case No. 8:21-bk-11710-SC

13 JAMIE LYNN GALLIAN,                                    Chapter 7

14                                                        ORDER DENYING APPLICATION OF
                                                          THE CHAPTER 7 TRUSTEE TO
15                     Debtor.                            EMPLOY REAL ESTATE BROKER
                                                          COLDWELL BANKER REALTY AND
16                                                        AGENTS WILLIAM FRIEDMAN AND
                                                          GREG BINGHAM PURSUANT TO 11
17                                                        U.S.C. §§ 327 AND 328 WITHOUT
                                                          PREJUDICE
18
                                                          Date:       September 13, 2022
19                                                        Time:       11:00 a.m.
                                                          Place:      Courtroom “5C”
20                                                                    411 W. 4th Street
                                                                      Santa Ana, California 92701
21

22            On September 13, 2022 at 11:00 a.m., there came before the United States Bankruptcy
23 Court for the Central District of California, Santa Ana Division, the Honorable

24 Scott C. Clarkson, United States Bankruptcy Judge, presiding, a hearing on the Trustee’s

25 Application to Employ Real Estate Broker Coldwell Banker Realty and Agents William Friedman

26 and Greg Bingham Pursuant to 11 U.S.C. §§ 327 and 328 (docket no. 162) (the “Application”)

27 filed by Jeffrey I. Golden, Chapter 7 Trustee (the “Trustee”). Aaron E. de Leest of Danning, Gill,

28 Israel & Krasnoff, LLP, appeared for the Trustee, who also appeared. Robert P. Goe of Goe

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                                                                            EXHIBIT A
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 1 Forsythe & Hodges LLP, appeared for Huntington Beach Gables Homeowners Association. The

 2 Debtor appeared in pro per. There were no other appearances.

 3            The Court having read and considered the Application, the Debtor’s opposition to the

 4 Application (docket no. 208), the Trustee’s reply to the Debtor’s opposition (docket no. 219), and

 5 the HOA’s joinder in the Trustee’s reply (docket no. 221), having heard the oral statements of the

 6 Debtor, the Trustee, and counsel at the hearing, and for the reasons set forth by the Court on the

 7 record at the hearing, it is hereby

 8            ORDERED THAT:

 9            1.       The Application is denied, without prejudice.
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                                   PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is
1901 Avenue of the Stars, Suite 450, Los Angeles, CA 90067-6006.

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN
BANKRUPTCY CASE will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the
document. On September 20, 2022 I checked the CM/ECF docket for this bankruptcy case or adversary
proceeding and determined that the following persons are on the Electronic Mail Notice List to receive NEF
transmission at the email addresses stated below:



                                                                               Service information continued on attached page.

2. SERVED BY UNITED STATES MAIL: On September 20, 2022 , I caused to be served the following persons
and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed as
follows. Listing the judge here constitutes a declaration that mailing to the judge will be completed no later than 24
hours after the document is filed.

Debtor                                         The Honorable Scott C. Clarkson
Jamie Lynn Gallian                             U.S. Bankruptcy Court
16222 Monterey Ln Unit 376                     411 W. Fourth Street, Suite 5130
Huntington Beach, CA 92649                     Santa Ana, CA 92701


                                                                               Service information continued on attached page.

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state
method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)
                     , I served the following persons and/or entities by personal delivery, overnight mail service, or
(for those who consented in writing to such service method), by facsimile transmission and/or email as follows.
Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will be
completed no later than 24 hours after the document is filed.



                                                                               Service information continued on attached page.

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.



 September 20, 2022                      Beverly Lew                                          /s/ Beverly Lew
 Date                                    Printed Name                                         Signature




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                                           ADDITIONAL SERVICE INFORMATION (if needed):


1. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (“NEF”)

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Robert P Goe on behalf of Plaintiff The Huntington Beach Gables Homeowners Association
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Jeffrey I Golden (TR)        lwerner@go2.law, jig@trustesolutions.net;kadele@go2.law

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Brandon J Iskander on behalf of Plaintiff The Huntington Beach Gables Homeowners Association
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Eric P Israel on behalf of Trustee Jeffrey I Golden (TR)
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Valerie Smith on behalf of Interested Party Courtesy NEF              claims@recoverycorp.com

United States Trustee (SA)             ustpregion16.sa.ecf@usdoj.gov


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